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                      Exhibit E
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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 RICHARD PRATT and LARRY JONES,
 individually and on behalf of all others        Case No. 21-cv-11404-TLL-PTM
 similarly situated,
                                                 Hon. Thomas L. Ludington

                    Plaintiffs,                  Mag. Judge Patricia T. Morris

       v.

 KSE SPORTSMAN MEDIA, INC.,


                    Defendant.

   DECLARATION OF LARRY JONES IN SUPPORT OF PLAINTIFFS’
  MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT
             AND MOTION FOR ATTORNEYS’ FEES

I, Larry Jones, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am an adult over the age of 18 and a resident of the State of

Michigan. I am a Class Representative in the lawsuit entitled Pratt v. KSE

Sportsman Media, Inc., Case No. 21-cv-11404-TLL-PTM, currently pending in the

United States District Court for the Eastern District of Michigan. I make this

Declaration in support of (i) the Motion for Final Approval of Settlement, and (ii)

the Motion for Attorneys’ Fees. The statements made in this Declaration are based

on my personal knowledge and, if called as a witness, I could and would testify

thereto.
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      2.     I subscribed to Guns & Ammo magazine directly through Defendant.

      3.     I assisted with the litigation of this case by detailing my magazine

subscription purchase history. Specifically, I described to my lawyers how I

subscribed to the magazine at issue and how much I paid. I also informed my

counsel that I did not agree in writing or otherwise to allow Defendant to sell or

disclose my Personal Reading Information, that I did not receive notice of such

disclosures, and that I was unaware of such disclosures entirely.

      4.     I also worked with my attorneys to prepare the Class Action

Complaint. I carefully reviewed the Complaint for accuracy and approved it

before it was filed.

      5.     I filed this case even though I knew that this case would invariably

reveal my statutorily-protected status as a Guns & Ammo subscriber.

      6.     During the course of this litigation, I kept in regular contact with my

lawyers. Specifically, I conferred with them regularly by phone and e-mail to

discuss the status of the case. We also discussed case strategy, document and

deposition discovery, mediation, and the prospects of settlement. Furthermore,

when appropriate, I informed my attorneys of additional facts for their research and

consideration.

      7.     I also coordinated with my lawyers to search for documents that

Defendant requested in formal discovery, such as copies of my magazines,


                                          2
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documents concerning my magazine subscription purchases, and junk mailings I

have received. I was also prepared to testify at deposition and trial, if necessary.

      8.      My lawyers have kept me well informed in regard to the efforts to

resolve this matter. I discussed the Class Action Settlement Agreement with them

and gave my approval prior to signing it.

      9.      I do not have any conflicts with other Settlement Class Members. I

have done my best to protect the interests of other Settlement Class Members and

will continue to fairly and adequately represent the Settlement Class to the best of

my ability.

    I declare under penalty of perjury that the above and foregoing is true and

accurate.

Executed this ___
              10th
                   day of October 2023 at Flint, Michigan.

                                                ________________________
                                                Larry Jones (Oct 10, 2023 20:53 EDT)

                                                              Larry Jones




                                            3
